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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

BRIANNA BOE, et al.,                      )
                                          )
          Plaintiffs,                     )
                                          )
and                                       )
                                          )          Case No.: 2:22-cv-00184-LCB
UNITED STATES OF AMERICA,                 )
                                          )
         Plaintiff-Intervenor,            )
                                          )
v.                                        )
                                          )
STEVE MARSHALL, in his official
                                          )
capacity as Attorney General of the
                                          )
State of Alabama, et al.,
                                          )
                                          )
          Defendants.
                                          )

      RESPONDENTS’ BRIEF REGARDING THEIR ATTORNEY-CLIENT
     PRIVILEGED COMMUNICATIONS AND THE INAPPLICABILITY OF
                  THE CRIME-FRAUD EXCEPTION

         In response to the Court’s show cause order regarding the Q&A Document,

Dkt. 527, and pursuant to the Court’s directive at the May 20, 2024 status hearing,

Dkt. 535,1 and the Court’s May 23, 2024 text order, Dkt. 548, Respondents James

D. Esseks, Carl Charles, LaTisha Faulks, Milo Inglehart,2 and Kathleen Hartnett



1
    The transcript for the May 20, 2024 Zoom hearing is attached as Exhibit A.
2
 The Panel dismissed Milo Inglehart from these proceedings, see Vague, Dkt. 59,
but he is a Respondent for purposes of the Q&A Document show cause order.
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(herein, “Respondents”) respectfully submit this brief regarding their attorney-client

privileged communications with their counsel in this investigation (including the

“Q&A Document”) and the inapplicability of the crime-fraud exception.

      Respondents first describe the relevant factual background, which shows—

among other things—that the Q&A Document is a privileged communication

between Respondents and their counsel; was not under a continuing order of

production by the Panel; was not generated in furtherance of any crime or fraud; and,

to the contrary, was entirely appropriate preparation by Respondents and their

counsel for the May 20, 2022 hearing. Respondents next explain the applicable legal

framework, under which there is nothing approaching a prima facie case to trigger

the crime-fraud exception. Respondents also explain why, even if in camera review

were proper, any in camera review should be performed by a special master and not

by this Court, given that this is a quasi-criminal proceeding in which the Court is

acting both in a prosecutorial and decision-making capacity. See In re Ruffalo, 390

U.S. 544, 551 (1968) (attorney-disciplinary proceedings are “adversary proceedings

of a quasi-criminal nature”); see also, e.g., Erdmann v. Stevens, 458 F.2d 1205, 1209

(2d Cir. 1972) (“[A] court’s disciplinary proceeding … is comparable to a criminal

rather than to a civil proceeding.”). The question of whether a special master should

be appointed need not be reached, however, because the Court should dismiss the

order to produce the Q&A Document.

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                                 BACKGROUND

I.    Relevant Proceedings Before The Three-Judge Panel.

      A.     The Three-Judge Panel Institutes This Inquiry And Holds A May
             20, 2022 Hearing.

      On May 10, 2022, a three-judge panel (the “Panel”) was constituted by the

Chief Judges of the Alabama Districts to inquire into the conduct of the Walker and

Ladinsky counsel, including Respondents. Order, In re Amie Adelia Vague et al., No.

2:22-mc-03977-WKW (M.D. Ala.), Dkt. 1. Referencing this Court’s April 18, 2022

order in Walker, the Panel invoked the courts’ “inherent authority to address lawyer

conduct that abuses the judicial process,” and ordered the nearly 40 attorneys

representing the Walker, Ladinsky, and Eknes-Tucker plaintiffs to appear in person

10 days later at a May 20, 2022 hearing “to allow the panel to inquire about the

issues raised by counsel’s actions.” Id. at 5. The Panel’s Order did not state that

testimony would be taken from any counsel on May 20. See generally id. It did,

however, assure that “this proceeding will not be adversarial in nature.” Id. at 6. But

see In re Ruffalo, 390 U.S. at 551 (1968) (attorney-disciplinary proceedings are

“adversary proceedings of a quasi-criminal nature”).3


3
 For the proposition that its inquiry was not “adversarial,” the Panel has cited United
States v. Shaygan, 652 F.3d 1297, 1308 (11th Cir. 2011). Vague, Dkt. 70 at 3. This
Court has adopted that proposition. See Dkt. 527 at 15 (“As the Respondents have
been continually reminded, this is not an adversarial proceeding, and the Court is a
‘neutral decisionmaker.’” (citing Vague, Dkt. 41)). Respectfully, this proposition is
contrary to In re Ruffalo, and it also overlooks the actual import of this observation
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      In light of the May 10 order, the twenty-one members of the Walker team

promptly retained Barry Ragsdale as their investigation counsel. Dkt. 528 at 3-4;

see Vague, Dkt. 34, 34-1, and 42-1 (protective order motion and declaration filed by

Walker counsel laying out these facts, and sworn declaration of Mr. Ragsdale

attesting to privileged nature of documents at issue). Russell Capone, an attorney at

Cooley, also served as investigation counsel for the Cooley Respondents, as reflected

by the transcript of the May 20, 2022 hearing. At Mr. Ragsdale’s direction, the

Walker Respondents helped prepare Mr. Ragsdale for the hearing, including by

developing materials such as an attorney-client privileged “Q&A Document,” to

assist Mr. Ragsdale with understanding the facts and history of Walker and to prepare

him for questioning at the May 20 hearing. See id. Because Mr. Ragsdale had been

retained just days before the May 20 hearing, see Vague, Dkt. 2 (notice of appearance

on May 12), he had limited time to learn all the relevant information and ensure that

his representations to the Court were informed and accurate; the Q&A Document

was part of that preparation. See Dkt. 528 at 3-4.




in Shaygan: that the district court’s disciplinary proceedings in that case violated
the respondents’ due process rights because “[t]he district court conducted an
inquiry, not an adversarial hearing, and both prosecutors were denied a meaningful
opportunity to be heard in that proceeding.” Shaygan, 652 F.3d at 1318. In other
words, in order for a proceeding to be properly constituted to allow for the imposition
of discipline, it must be recognized as adversarial and quasi-criminal in nature and
respondents in the proceeding must be afforded full due process rights.
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      Notably, Respondents and their counsel reasonably believed that the May 20

hearing would involve only a presentation by Mr. Ragsdale, and perhaps comments

by certain senior lawyers from the Walker and Ladinsky teams—not testimony from

the dozens of lawyers across the Walker and Ladinsky counsel teams. See id. at 4.

For example, as counsel for the Cooley Respondents stated on the record at the May

20 hearing, “Your Honor, I’ll just say, we didn’t expect that all of the junior lawyers

would be put under oath and individually questioned today.” Vague, Dkt. 75 at

76:23-25. Mr. Capone explained further the lack of Respondents’ preparation for

testimony: “they might have prepared more to be here, sought counsel if they thought

they needed counsel. I don’t think they do [need individual counsel], but we didn’t

consider any of that because we weren’t necessarily expecting this process today. In

fact, I had been told nobody would be put under oath.” Id. at 77:1-5.

      In short, in the run-up to May 20, Walker Counsel were not preparing to

provide sworn testimony to the Panel; they were preparing their lawyer to represent

them—truthfully and accurately—at a hearing. Walker Counsel had the impression

that, at most, perhaps team leaders Hartnett and Esseks might present, not testify.

      Not only was the Q&A Document and Respondents’ other preparation efforts

with Mr. Ragsdale for the May 20 hearing entirely appropriate, but Respondents’

counsel was forthright with the Panel about this preparation. To begin, after the

Panel indicated at the May 20 hearing that the junior Respondents unexpectedly

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would be questioned one at a time by Justice Harwood without their counsel present,

the Panel claimed that “Justice Harwood has no intention of asking about any

communications anyone has had with your lawyer or your firm or organization's

lawyer.” Vague, Dkt. 75 at 80:3-4. Respondents strenuously objected to this denial

of counsel. See, e.g., id., at 81:22-24 (Mr. Segall: “I don’t believe I’ve ever been in

a court proceeding where my client gets questioned and I’m not present at the time

my client is questioned.”). And in response to the prospect of junior lawyers being

questioned without counsel, Mr. Ragsdale transparently explained that there had

been attorney-client preparations with all Respondents: “And just so the record is

clear, I also talked to my clients about what we anticipated in terms of questions that

would be asked and what those facts were. And we did that both in an effort to make

sure that we had all the facts and that there were not some discrepancy that we didn’t

know about.” Id. at 80:5-10. Mr. Ragsdale further explained that this preparation

“was done collaboratively.”      Id. at 80:12-13.    The Panel responded with the

following assurance: “All three of us practiced law before we did this.            We

understand what your responsibilities and activities would have been, and we’re

not trying to get into the middle of those.” Id. at 80:16-17 (emphasis added).

      Prior to taking any testimony, the Panel said, “We're going to invoke a

modified version of the rule, which means that if you're in the -- we're only going to

have people in the courtrooms who will be answering questions, and you are not to

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reveal the questions you're asked or the answers you give to anyone else, period.”

May 20, 2022 Hrg. Trans. at 74:5–9. The Panel had not previously instructed the

Respondents on sequestration.

      Following this discussion, Justice Harwood then questioned all of the junior

lawyers who were present on May 20 one-by-one, without their counsel present.

May 20, 2022 Hrg. Trans. (Harwood).           In each case, Justice Harwood asked

questions of Respondents that called for attorney-client privileged information about

their preparation with their counsel for the May 20 hearing—with no counsel there

to object. See id. Notwithstanding that the junior Respondents were all asked these

questions while denied counsel, and without the expectation of or preparation for

testifying, all junior Walker lawyers questioned by Justice Harwood testified that

no one had coached their testimony or otherwise did anything improper with

respect to preparation for the hearing:


 Andrew Barr, JUSTICE HARWOOD: Okay. And I guess the first question I
 id. at 3:8–16. would ask: Were you given any instructions or coaching by
                anyone about what you should or shouldn't say at this hearing?

                 ANDREW BARR: There were prep sessions, but it was fact-
                 gathering regarding what did or didn’t happen and people’s
                 memory of that we’ll call it a ten-day period or whatever it might
                 have been. The only thing that we were told, which is exactly
                 what we tell every witness, is to tell the truth.
 Zoe Helstrom, JUSTICE HARWOOD: Well, as you heard, there are a couple of
 id. at 34:5–14. questions the Court has assigned me to ask and then pursue as I
                 see fit. The first is have you been coached or instructed by

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                anybody about what you should or shouldn’t say by way of,
                quote, “testimony” at this hearing?

               ZOE HELSTROM: Sure. I think beyond what our attorney
               mentioned -- you know, we had conversations about, like,
               potential questions that, if we were to be asked questions, we
               might encounter and what the facts were in terms of, you know,
               each question, but that’s – that’s been it.
Milo           JUSTICE HARWOOD: Okay. You heard me earlier on say that
Inglehart, id. one of the questions the judges had wanted me to ask, has anyone
at      54:22- coached you or suggested to you any testimony you should give?
55:24.         That is, if you were asked a certain question, here's what you
               should say?

                MILO INGLEHART: I don’t think so. Not quite like that. We met
                with our counsel, Barry, a few times who sort of explained to us
                what he thought might generally –

                JUSTICE HARWOOD: Barry Ragsdale?

                MILO INGLEHART: Barry Ragsdale, yeah. Sorry, sir. We didn’t
                get specific things to say. There was a sort of Q and A document
                that was circulated, I think, last night for us or maybe a draft was
                circulated earlier in the week, but the final version was circulated
                last night that kind of walked through, like, things they think
                might come up or like -- yeah, just to sort of prep folks. And
                beyond that, Lynly and Dale and I were going to have a meeting
                on Thursday night -- no. Sorry -- on Wednesday night, but it
                ended up getting canceled. So I just ended up going to the group
                calls and looking over the document.

                JUSTICE HARWOOD: Okay. When you say “Q and A,” “A”
                would be the answers. Was there a suggestion, all right. If you're
                asked this question, here's the answer to use?

                MILO INGLEHART: Usually it was sort of like -- I'm trying to
                remember. I just looked over it last night -- like, outlining, like --
                like, general -- it wasn’t like a word-for-word thing, but like
                things that might be useful to touch on or like -- yeah.

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Katelyn Kang, JUSTICE HARWOOD: All right. As you know, I’ve been
id. at 27:6–20. charged to pursue a couple of limited areas of inquiry. The
                first thing I would ask, has anyone instructed you or coached you
                about what you should or shouldn't say in these proceedings?

                 KATELYN KANG: I consulted generally with Mr. Ragsdale, our
                 counsel, but other than that, we didn’t have any communications
                 amongst ourselves about what to say or not to say.

                 JUSTICE HARWOOD: Well, did any counsel instruct you
                 “Here’s what you have to say” or “Here’s the testimony you need
                 to give”?

              KATELYN KANG: No, Your Honor. He told us to, you know,
              talk about what we -- what our personal roles were and to speak
              honestly.
Adam Katz, JUSTICE HARWOOD: Okay. And then the question I told you
id. at 13:20– I'd be asking: Any coaching or instructions to what you were or
14:10.        were not to say by way of any discussions and as it now turns I
              guess we'd call it testimony since it's under oath?

                 ADAM KATZ: No, sir. So we did have, I think, one maybe two
                 group meetings, like, with our entire Walker team and our
                 counsel where they talked about what they expected this process
                 might look like, and they shared with us that the draft written
                 submission that we made so everyone could sort of remember the
                 -- the timeline because, again, this all happened in basically 48
                 hours but –

                 JUSTICE HARWOOD: Tell me about it.

                THE WITNESS: Yeah. But, yeah, I -- yeah, it was sort of a mad
                dash to try to get things done and -- yeah. But -- but no one said,
                “You should say this, and you should not say this.”
Dale Melchert, JUSTICE HARWOOD: Okay. The two questions that I've
id. at 47:9–15. previewed for everybody, first, has anyone coached you or tried
                to instruct you about what you should or should not testify about
                here today? That is, if they ask you this question, here's what you
                say?

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                DALE MELCHERT: No. We were told to be truthful and to be
                candid with the Court.
Malita          JUSTICE HARWOOD: Okay. Well, as you know from my
Picasso, id. at preamble earlier, there are two things the Court has asked me to
61:3-12.        pursue by way of further questioning is, have you been told or
                instructed as to how you should answer any particular questions
                or --

               MALITA PICASSO: I have not been directed to answer any
               questions in any particular manner. As Barry alluded to earlier,
               we did have discussions about general facts as we all understood
               them, but at no point has anybody directed me to answer any
               questions in a particular way.
Elizabeth      JUSTICE HARWOOD: . . . And so my first question would be:
Reinhardt, id. Did you receive any coaching or instruction about what you were
at 20:11–18.   or were not to say at these proceedings?

                  ELIZABETH REINHARDT: No.
Robby             JUSTICE HARWOOD: Okay. Well, I'll start out by asking have
Saldana, id. at   you been given any particular instructions or coaching about what
5:5–9.            you were to say or not to say at whatever proceeding this was to
                  turn out to be today?
                  ROBBY L.R. SALDANA: No.
Sruti             JUSTICE HARWOOD: Okay. Well, as you know, my two main
Swaminathan,      thrusts of questioning as requested by the Court to pursue are,
id. at 42:7–12    first, has anyone instructed you or coached you as to what you
                  should say by way of, quote, testimony that might be taken here
                  today?

                  SRUTI J. SWAMINATHAN: No.

                  JUSTICE HARWOOD: Okay.

                  SRUTI J. SWAMINATHAN: Actually, we weren't even told that
                  we would be giving testimony, so we were definitely not prepared
                  to.




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      B.     The Panel Compels Further Declarations And Testimony From
             Respondents, But Ultimately Does Not Order The Production of
             Attorney-Client Communications, Including The Q&A Document.

      On July 8, 2022, the Panel ordered that “the preliminary proceeding in this

matter will continue at 10:00 a.m. Central Daylight Time on August 3–4, 2022,”

Vague, Dkt. 22 at 1. The Panel ordered 21 attorneys from the Walker and Ladinsky

teams to provide declarations on eight topics before providing live testimony in

August, see id. at 1-3. The seventh declaration topic was: “Any knowledge you have

that relates to (1) preparation for the hearing in this matter (including circulation of

any Q&A document), and (2) the questions expected to be asked or that were actually

asked by the court at the May 20, 2022 hearing.” Id. at 3. In addition, Respondent

Inglehart from the Walker team was ordered to “attach a copy of the Q&A sheet

referenced at the May 20 proceeding.” Id. at 2 n.1. The July 8 order also noted that

upon the Panel’s receipt of the requested testimony, the same Panel would decide

whether to “initiate formal charges.” Id. at 5.

      Because the July 8, 2022 order called for Respondents’ production of their

attorney-client communications with their investigation counsel, Respondents filed

motions for a protective order to protect their attorney-client communications and

attorney work product, including the Q&A document. See Vague, Dkt. 27 (Ladinsky

counsel motion); Vague, Dkt. 34 (Walker counsel motion). Both motions expressed

similar concerns with respect to the Panel’s request for attorney-client

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communications and work product regarding the May 20 hearing. Ladinsky counsel

summarized the concerns as follows:

      [U]pon receiving the May 10 Order and notice of the May 20 hearing,
      Ladinsky Counsel sought legal advice in preparation for the hearing—
      as is typical for anyone accused of potential wrongdoing. Because
      these communications were confidential and legal advice was sought,
      they fall squarely within the cloak of the attorney-client privilege. Yet,
      Topic Seven of the Panel’s July 8, 2022 Order seeks these very
      communications. . . . Ladinsky Counsel object to disclosing any such
      communications to anyone, especially to the very Panel which says it
      may “initiate formal charges.”

Vague, Dkt. 27 at 7.         Walker counsel expressed similar concerns, including

specifically with respect to the Q&A document, explaining (inter alia):

      Accordingly, because the July 8 Order requests information that is
      protected by the attorney-client privilege and the attorney work product
      doctrine, including the Q&A document, Walker Counsel seek a
      protective order to prevent such disclosure. . . . The Q&A document is
      plainly protected by the attorney-client privilege. Walker Counsel
      intended the Q&A document to be a confidential communication with
      their counsel made for the purpose of obtaining legal advice and
      facilitating counsel’s representation of Walker Counsel at the May 20
      hearing. . . . Here, there is no basis to believe that the attorney-client
      privilege or the work product doctrine do not apply. The only pertinent
      evidence in the record—that the Q&A document was prepared for
      counsel and by counsel through direct communications with clients—
      does not in any way meet the threshold for in camera review.

Vague, Dkt. 34 at 4, 5, 7.

      The Panel issued an order on July 25, 2022 resolving the protective order

motions. Vague, Dkt. 41. The Panel denied the motions, see id. at 1, but—

critically—“CLARIFIE[D]” that “the Panel is not seeking the disclosure of

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privileged communications. To the extent the materials that must be disclosed to

the Panel are work product, all disclosures are to be made in camera.” Id. at 3-4

(emphasis added). Indeed, according to the Panel’s July 25 order, its July 8 order

already had “ma[de] clear” that privileged material was not called for. See id. The

July 25 order also reiterated the Panel’s view that it was conducting a non-adversarial

proceeding, id. at 3, and confirmed that there was no allegation of the crime-fraud

exception in play: “[t]here is no opposing party to raise potential exceptions to

privilege or protection: for example, waiver or the crime-fraud exception.” Id.

      In sum, the Panel’s July 25, 2022 order clarified and confirmed that

Respondents were not under any order to provide attorney-client privileged

communications. Such privileged communications include the Q&A Document,

which the Walker counsel’s protective order motion specifically identified for the

Panel (explaining that it was privileged and that no exception to privilege applied),

Vague, Dkt. 34, at 4, 5, 7—a point undisputed by the Panel’s July 25, 2022 order.

      In light of the July 25 order, Respondent Inglehart understood that he was no

longer required to disclose the privileged Q&A Document and so advised the Panel

in a submission by Walker counsel on July 27, 2022. Vague, Dkt. 42 at 2 (“On the

advice of counsel (see Ragsdale Decl. ¶ 2), Declarant Milo Inglehart is not disclosing

the ‘Q&A document’ initially requested by the July 8 Order (Doc. 22 at 2 n.1)

because it qualifies as a ‘privileged communication’ exempt from disclosure

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pursuant to the July 25 Order.”). Mr. Inglehart filed his declaration on July 29, but

did not include the privileged Q&A Document. See Vague, Dkt. 80-15. On August

2, 2022, after Mr. Inglehart filed his declaration and a Notice stating he was not

producing the Q&A document, the Panel sua sponte excused Mr. Inglehart—the only

individual ordered to produce the Q&A Document—from appearing at the August

hearing. Vague, Dkt. 47.

      The other remaining Walker and Ladinsky Counsel also filed declarations

prior to the August 2022 hearings. Each Walker Counsel addressed Topic 7 by

explaining their preparations for the May 2022 hearing at a level sufficient to

preserve attorney-client privilege over their communications with counsel, with all

making clear that their preparations with Mr. Ragsdale (including the Q&A

Document) were appropriate attorney-client communications and attorney work

product. See Exhibit B (excerpts from Walker Counsel declarations concerning Topic

7). All Walker Counsel also confirmed in their declarations their compliance with

the Panel’s sequestration orders. See id.

      At the remaining hearings before the Panel, which took place in August and

November 2022, no testimony or other evidence called into question the testimony

of the junior lawyers before Justice Harwood or the declarations submitted by Walker

counsel regarding the propriety of the Q&A Document or their preparation for the

May 20, 2022 hearing.

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      And, although the Court’s July 25, 2022 Order had already confirmed that

Respondents were under no continuing order to produce attorney-client

communications, including the Q&A Document, the Panel confirmed this point

thrice more. First, at a hearing on August 4, 2022, counsel for the Ladinsky team

began the hearing by “remind[ing] the panel of the fact that we have asserted

privileges.” Vague, Aug. 4, 2022 Tr. at 3:20-21. In response, the Panel confirmed

that it “underst[oo]d” that Respondents had “drawn the line on saying we’re not

going to testify about matters that are attorney-client privileged, both of our clients

in those cases or counsel representing the subject lawyers in this matter.” Id. at 4:16-

20. Judge Proctor went on to confirm that “in the declarations the lawyers have

observed what I understood the line,” i.e., they “disclosed communications about

what decisions were made and why they were made as it relates to the subject

inquiry, but they have drawn the line and said, we are not going to disclose”

privileged communications. Id. at 5:12-17. Judge Proctor further confirmed that the

Panel was “just going to recognize the objection” to producing privileged

communications and, “[i]f that changes at some point, we’ll certainly let you know

and have a discussion about the best way to proceed.” Id. at 5:19-23.

      Second, on September 23, 2022, the Panel entered an Order that said:

      After careful consideration of the oral and written testimony in this
      matter, the Panel TERMINATES this inquiry as to the following
      attorneys and RELEASES them from any obligation under the May
      10, 2022 and July 8, 2022 Orders:
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      ...
      -Milo Rohr Inglehart

Vague, Dkt. 59. The July 8, 2022 Order required Inglehart to produce the Q&A

document, and in its September 23, 2022 Order, the Panel “RELEASE[D Inglehart]

from any obligation under the . . . July 8, 2022 Order.” Id. And, to be clear, the July

8 Order required Inglehart, but no one else, to produce the Q&A Document. Until

this Court’s May 17, 2024 Order, none of Ms. Hartnett, Ms. Faulks, Mr. Esseks, or

Mr. Charles were ever under an Order to produce the Q&A Document.

      Finally, at the November 3, 2022 hearing, the Panel expressly stated that it

had “not made” Respondents provide the “Q and A sheet”:

      MR. SEGALL: …. I would also, Your Honor, like for today’s purposes
      to have a continuing objection on the basis of all the privileges that have
      been mentioned, work product, attorney-client, common interest, joint
      client, et cetera.

      JUDGE PROCTOR: …. [W]e certainly understand we’ve not made
      you provide us documents, the Q and A sheet, the talking points that
      Doss was going to use either here or before Judge Burke at the
      hearing. So we’re all right with y’all asserting anything we’re not
      actually saying is work product we’re reserving our work product
      objection. But I thought that there had been a decision to be somewhat
      candid with the Court about why these decisions were made. Am I
      missing the boat on my recollection here?

      MR. SEGALL: Well, you’re correct that I didn’t say anything during
      May 20 at all about that. But if I understand the Court’s ruling –and, of
      course, we gave declarations. And in those declarations, we’ve, in my
      judgment, violated one or more privileges.




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        JUDGE PROCTOR: Well, you – I wouldn’t say you violated it. I would
        say there was a limited waiver of the work product privilege, not the
        attorney-client privilege but the work product privilege….

Vague, Dkt. 79 at 4:17-5:22 (attached hereto as Exhibit C).

        The Q&A Document received no further mention before the Panel or before

this Court from November 3, 2022 until Friday, May 17, 2024. Nor was there any

assertion of the applicability of the crime-fraud exception to pierce Respondents’

attorney-client privilege with their investigation counsel before the Panel or this

Court until this Court’s May 17 Order.4

II.     The May 17, 2024 Show Cause Order And Ensuing Proceedings.

        On Friday, May 17, 2024, the Court issued an order to Respondents “to

produce the Q & A document by May 20, 2024 at 5:00 p.m. or show cause why they

should not be sanctioned for violating a court order.” Dkt. 527 at 1. As the basis for

this order, the Court stated that it had “come to the Court’s attention that early in

these proceedings, when the matter was pending before a three-judge panel, an



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  In the Court’s order unsealing these proceedings, see Dkt. 459, the Court
determined—without any briefing of the issue—that any of Respondents’ work
product or common interest material in the Panel’s Final Report was unprotected
because “the crime-fraud exception would remove any work product protections that
they might otherwise enjoy.” Id. at 12-13. According to the unsealing order, “[t]he
Panel’s findings make a prima facie case of misconduct—namely, judge shopping—
and the ‘mental impressions and strategy’ decisions for which the Respondents claim
protection were produced in furtherance of that misconduct.” Id. at 13. Although
Respondent respectfully submits that this analysis was erroneous, it presents a
separate question than that currently before the Court regarding the Q&A Document.
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attorney named Milo Inglehart was ordered to produce a document he described as

a ‘Q & A,’ which had been circulated to Respondents James Esseks, LaTisha Faulks,

Carl Charles, Kathleen Hartnett and the rest of Walker v. Marshall’s litigation team.

At the advice of his attorney, Barry Ragsdale, Mr. Inglehart refused to produce the

document.” Id. The May 17 Order further stated that “[a]ny Respondent or non-

Respondent who fails to comply must appear at the U.S. Courthouse in

Montgomery, Alabama on May 23, 2024 at 9:30 a.m. to show cause why the Court

should not impose monetary sanctions for non-compliance and remand him or her

to the custody of the U.S. Marshals Service until he or she complies.” Id. at 17.

      The May 17 order also asserted that the crime-fraud exception to the attorney-

client privilege potentially applied to the Q&A document because there was a “prima

facie showing that the Walker Respondents were engaged in or planning to engage

in fraudulent conduct.” Id. at 13. As support for claim of a prima facie case, the

May 17 order cited two “findings”: (1) a footnote in the Final Report and (2) an

allegation in the Court’s own show-cause orders. Id.

      On Saturday, May 18, 2024, Respondent Hartnett filed a response and

emergency motion for a status conference and stay in response to the May 17 Order,

Dkt. 528, in which the other Respondents joined, explaining, among other things,

that Respondents did not believe there was a continuing order to produce the Q&A

document or any basis for invocation of the crime-fraud exception. On Sunday, May

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19, 2024, Respondent Hartnett notified the Court of her intent to seek relief from the

Eleventh Circuit absent relief from the production deadline of 5:00 p.m. Monday,

May 20. Dkt. 532. At 10:10 a.m. on Monday, May 20, 2024, the Court set a status

conference for 1:30 p.m. that day. Dkt. 533. Because the Court had not yet relieved

Respondents from the production deadline, Respondents filed a Petition for Writ of

Mandamus and Emergency Motion for Stay with the Eleventh Circuit (“Petition”)

shortly after 1:00 p.m. that day, and served the Petition on the Court and other parties

to this proceeding. See In re Esseks, No. 24-11618 (11th Cir.).

       The Court conducted the status conference on Monday, May 20, and decided

to allow Respondents until May 24 to brief the applicability of the crime-fraud

exception. Dkt. 548. As a result, Respondents voluntarily dismissed their Petition in

the Eleventh Circuit. On May 23, the Court set the issue for oral argument on May

28 and stayed “the deadline for Respondents Esseks, Faulks, Charles, and Hartnett,

and Non-Respondent Inglehart to produce the Q & A Document until the Court has

had time to consider their arguments at the May 28 hearing and any additional

briefing they may file.” Dkt. 548.

                                     ARGUMENT

I.     RESPONDENTS WERE NOT UNDER A CONTINUING ORDER BY
       THE PANEL TO PRODUCE THE Q&A DOCUMENT AND HAVE NOT
       MISPREPRESENTED THE RECORD.




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      Undersigned counsel understands that the Court is seeking the Q&A

Document regardless of whether Respondents were under a continuing order from

the Panel to provide that document. Yet undersigned counsel takes extremely

seriously this Court’s statements at the May 20 conference that Respondents

“misrepresented” the record to the Eleventh Circuit regarding whether they were

under a continuing order to produce the Q&A Document by the Panel and whether

the Panel viewed that document as subject to an assertion of privilege. Ex. A at 4-5,

10. Respectfully, there has been no misrepresentation. Nor were Respondents under

a continuing order from the Panel to produce the Q&A Document.

      As Respondents have explained in prior filings, e.g., Dkts. 528, 529; Vague,

Dkt. 42, and explained in even more detail above, see supra pp. 19–22, although the

Panel’s July 8, 2022 order initially ordered production of the Q&A document (by

Mr. Inglehart), see Vague, Dkt. 22 at 2 n.1, the Panel later clarified in its July 25,

2022 Order that it was “not seeking the disclosure of privileged communications,”

Vague, Dkt. 41at 4. Importantly, Walker counsel had made clear to the Panel in

Walker counsel’s protective order motion filed prior to the July 25 order that Walker

counsel considered the Q&A Document, in particular, to be an attorney-client

privileged communication. See Vague, Dkt. 34 at 4, 5, 7. And, after the July 25

order issued, Respondents openly and specifically informed the Panel that

Respondent Inglehart would not be producing the Q&A Document in light of the

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Panel’s confirmation that it was not seeking attorney-client communications. See

Vague, Dkt. 42 at 2 (stating that “Inglehart is not disclosing the ‘Q&A document’

initially requested by the July 8 Order (Doc. 22 at 2 n.1) because it qualifies as a

‘privileged communication’ exempt from disclosure pursuant to the July 25 Order”).

Inglehart was thereafter excused from the August hearings, Vague, Dkt. 47, and the

Panel never again requested the Q&A document. Instead, the Panel confirmed at an

August 4, 2022 hearing that it was respecting that Respondents had “drawn the line

on saying” they would not disclose “attorney-client privileged” communications

with their “counsel . . . in this matter,” and that the Panel would “let [Respondents]

know and have a discussion” if “that changes at some point.” Vague, Aug. 4, 2022

Tr. at 4-5.

       Between the August and November hearings, the Panel then expressly

released Mr. Inglehart from “any obligation under the . . . July 8, 2022 Order[].”

Vague, Dkt. 59. The Panel did not make any exception for the Q&A Document, even

though Mr. Inglehart had openly stated that he had not produced the document and

his reasons why.

       The Panel then reaffirmed this position specifically with respect to the Q&A

Document at a November 3, 2022 hearing, stating that “we certainly understand

we’ve not made you provide us documents, the Q and A sheet, the talking points that

Doss was going to use either here or before Judge Burke at the hearing,” and that the

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Panel had not ordered the production of “attorney client privilege” material. Ex. D

at 4:17-5:22.

        Thus, Respondents respectfully submit that the record is clear that (1)

Respondents (in particular, Respondent Inglehart, the only one who had ever been

subject to an order concerning the production of the Q&A Document) were not under

a continuing order to produce the Q&A Document after the clarification provided by

the July 25 Panel order; (2) the Panel thereafter confirmed that it respected

Respondents’ objection to producing privileged information and that Respondents

need not produce the Q&A Document; (3) the Panel expressly released Mr. Inglehart

from any obligation under the July 8 Order, and (4) Respondents have made no

misrepresentations of the record to the Eleventh Circuit or otherwise. Notably, the

Panel’s Final Report cites its original order seeking production of the Q&A

Document and notes its receipt of Respondents’ declarations that described the Q&A

Document, but makes no suggestion or finding that Respondents failed to comply

with any order regarding the production of produce the Q&A Document. Vague,

Dkt. 70 at 14-15.

II.     THE ATTORNEY-CLIENT PRIVILEGE PROTECTS THE Q&A
        DOCUMENT FROM DISCLOSURE ABSENT THE EXISTENCE OF
        AN EXCEPTION TO THE PRIVILEGE.

        Where, as here, a court investigates attorneys for claimed misconduct, those

parties are entitled to engage counsel and consult with counsel in confidence, subject

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to the attorney-client privilege. See Fed. R. Evid. 1101(c) (providing that “[t]he rules

on privilege apply to all stages of a case or proceeding” (emphasis added)); Fed. R.

Evid. 1101(d) (confirming that the evidentiary rules regarding privilege apply to

miscellaneous proceedings); Northern District of Alabama Local Rule 83.1(h)(1)(C)

(recognizing that privileges may be asserted in an attorney disciplinary proceeding);

Middle District of Alabama Local Rule 83.1(j)(3) (same).5

      Communications between Respondents and the attorneys representing them

in this investigation are at the very core of what the attorney-client privilege protects:

“disclosures made by a client to his attorney, in confidence, for the purpose of

securing legal advice or assistance.” Knox v. Roper Pump Co., 957 F.3d 1237, 1248

(11th Cir. 2020). The privilege likewise protects communications by attorneys to

their clients. See Upjohn Co. v. United States, 449 U.S. 383, 390 (1981). And in a

case, like this one, that involves joint representation, the privilege protects

communications between co-clients and their common attorneys.                  See, e.g.,

Teleglobe Commc’ns Corp. v. BCE, Inc., 493 F.3d 345, 363 (3d Cir. 2007). The very

point of the privilege is “to encourage full and frank communication between

attorneys and their clients,” recognizing “that sound legal advice or advocacy serves




5
  The attorney work product doctrine also applies in these proceedings and protects
the Q&A document. See Vague, Dkt. 34. Because the Q&A Document is an
attorney-client communication, this brief focuses on the attorney-client privilege.
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public ends and that such advice or advocacy depends upon the lawyer’s being fully

informed by the client.” Upjohn, 449 U.S. at 389; see also United States v. Noriega,

917 F.2d 1543, 1550 (11th Cir. 1990) (similar).

         The Q&A Document is classic attorney-client privileged material. Mr.

Ragsdale, representing Respondents in the Panel’s investigation, directed his clients

to prepare a list of potential questions the Panel might ask at the May 20, 2022

hearing, as well as proposed answers to those questions, so that he could be prepared

for the hearing. Vague, Dkt. 34 at 2-8; Vague, Dkt. 34-1 at ¶¶ 6–15. Senior Walker

Counsel did so, and discussed the document with Mr. Ragsdale for the purpose of

obtaining his legal advice in preparation for that hearing. See id. These “disclosures

made by . . . client[s] to [their] attorney, in confidence, for the purpose of securing

legal advice or assistance,” are at the very heart of what the attorney-client privilege

protects. Knox, 957 F.3d at 1248.

         Respondents do not read the Court’s show cause order regarding the Q&A

Document, Dkt. 527, to dispute that it is covered by the attorney-client privilege.

Rather, the Court’s order assumes that it is privileged and argues that the crime-fraud

exception applies. See id. at 8, 11-12.

III.     THERE IS NO PRIMA FACIE SHOWING OF THE CRIME-FRAUD
         EXCEPTION TO PERMIT REVIEW OF THE Q&A DOCUMENT.

         A.    The Rare and Extraordinary Crime-Fraud Exception.


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       “The crime-fraud exception allows a party—in rare circumstances—to

obtain discovery that otherwise would be protected by the attorney-client privilege

or the attorney work product doctrine.” Drummond Co., Inc. v. Conrad & Scherer,

LLP, 885 F.3d 1324, 1335 (11th Cir. 2018) (emphasis added); see also, e.g., Cox v.

Administrator U.S. Steel & Carnegie, 17 F.3d 1386, 1422 (11th Cir. 1994) (“The

crime-fraud exception presents one of the rare and extraordinary circumstances in

which opinion work product is discoverable.” (emphasis added)); United States v.

Hogan, 240 F. App’x 324, 328 (11th Cir. 2007) (referring to the “crime-fraud

exception as an extraordinary example of when the work-product privilege may be

pierced”). The exception applies only when otherwise protected materials “are

made in furtherance of an ongoing or future crime or fraud.” Drummond, 885

F.3d at 1335. (emphasis added).6

      A two-part test applies to determine if the crime-fraud exception exists:

“[f]irst, there must be a prima facie showing that the client was engaged in criminal

or fraudulent conduct when he sought the advice of counsel, that he was planning

such conduct when he sought the advice of counsel, or that he committed a crime or

fraud subsequent to receiving the benefit of counsel’s advice,” and “[s]econd, there



6
  Notably, the Panel suggested that the crime-fraud exception may not be available
in these proceedings at all. See Vague, Dkt. 41 at 3 (“Again, this is not an adversarial
proceeding. There is no opposing party to raise potential exceptions to privilege or
protection: for example, waiver or the crime-fraud exception.”).
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must be a showing that the attorney’s assistance was obtained in furtherance of the

criminal or fraudulent activity or was closely related to it.” In re Grand Jury

Investigation, 842 F.2d 1223, 1226 (11th Cir. 1987); accord, e.g., Drummond, 885

F.3d at 1335.

      Where, as here, the alleged basis for the exception’s applicability is a claimed

“fraud on the court,”7 there must be deception, directed at the court, based on

“egregious misconduct” that actually affects the integrity of the proceedings.

Herring v. United States, 424 F.3d 384, 386-87, 390 (3d Cir. 2005). As the Eleventh

Circuit has made clear “‘[f]raud upon the court’ … embrace[s] only that species of

fraud which does or attempts to, defile the court itself, or is a fraud perpetrated by

officers of the court so that the judicial machinery cannot perform in the usual

manner its impartial task of adjudging cases that are presented for adjudication.”

Travelers Indem. Co. v. Gore, 761 F.2d 1549, 1551 (11th Cir. 1985) (even perjury

does not rise to the level of fraud on the court). Thus, “[o]nly the most egregious

misconduct, such as bribery of a judge or members of a jury, or the fabrication of

evidence by a party in which an attorney is implicated, will constitute a fraud on the

court.” Russell v. Redstone Fed. Credit Union, 710 F. App’x 830, 832–33 (11th Cir.



7
  Respondents understand this to be the nature of the present allegation of fraud in
the May 17 order. See Dkt. 527 at 13.


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2017) (quoting Rozier v. Ford Motor Co., 573 F.2d 1332, 1338 (5th Cir. 1978)); see

also Apotex v. Merck & Co., 507 F.3d 1357, 1360-61 (Fed. Cir. 2007); Zurich N. Am.

v. Matrix Serv., 426 F.3d 1281, 1291 (10th Cir. 2005).

      A federal court may not conduct an in camera review of a document to

determine whether an exception to attorney-client privilege unless there has been a

threshold showing of “a factual basis adequate to support a good faith belief by a

reasonable person” that an exception to the attorney-client privilege applies. United

States v. Zolin, 491 U.S. 554, 572-73 (1989). A “prima facie” case requires evidence

that, “if believed by a trier of fact, would establish the elements of some violation

that was ongoing or about to be committed.” In re Grand Jury Investigation, 842

F.2d at 1226. That showing must “have some foundation in fact, for mere allegations

of criminality are insufficient to warrant application of the exception.” Id. In a Fifth

Circuit decision cited approvingly by the Eleventh Circuit in In re Grand Jury

Investigation, the Fifth Circuit “approved of the definition of a prima face case

contained in Black’s Law Dictionary.” In re International Systems and Controls

Corp. Sec. Litig., 693 F.2d 1235, 1242 (5th Cir. 1982). That Dictionary, in turn,

defined “prima facie case” as “evidence such as will suffice until contradicted and

overcome by other evidence.” Id. (citing Black’s Law Dictionary 4th ed. 1968); see

also Black’s Law Dictionary (11th ed. 2019) (defining “prima facie case” to mean

sufficient evidence to allow the trier of fact to “rule in the party’s favor.”).

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      B.     No Prima Facie Case Of Crime-Fraud Exists Here, Nor is There
             Evidence that the Q&A Document Furthered Any Crime or Fraud.

      The Court’s show cause order cites two “findings” to support the claimed

applicability of the crime-fraud exception here, Dkt. 527 at 13—neither of which

comes close to establishing a crime or a fraud. First, the Court cites its own

underlying show cause orders as a claimed basis for the existence of a fraud. See id.

at 13 (“each of them has been issued a show-cause order”). But an accusation—here

the Court’s show-cause orders against Respondents—is not evidence of a crime or a

fraud. That an “allegation” cannot make out a prima facie case is settled in this

Circuit and others. See, e.g., In re Grand Jury Investigation, 842 F.2d at 1228 (“mere

allegations” are “insufficient to warrant application of the exception”); In re

International Systems & Controls Corp. Sec. Litig., 693 F.2d at 1242 (rejecting

application of the exception where proponent of the exception relied on

“allegations”); In re Grand Jury Investigation, 599 F.2d 1224, 1232 (3d Cir. 1979)

(“naked assertion” of a corporate cover-up insufficient to overcome the privilege).

      Even if the Court’s citation to its own “show-cause order,” were construed to

incorporate the show-cause order’s citations—i.e., Dkt. 478 at 13 (Faulks), Dkt. 479

at 13-14 (Hartnett), Dkt. 481 at 14 (Charles), and Dkt. 486 at 13 (Esseks)—and those

citations were in turn construed to incorporate the portions of the Final Report that

they reference—i.e., all cite to (1) unspecified misrepresentations and omissions, (2)

unspecified “discrepancies” and “credibility” findings in Section IV of the Final
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Report, and (3) the “finding in Section V that it was misconduct … to claim that the

dismissal was because Judge Axon did not explain the reassignment of Ladinsky and

the Court set Walker for a status conference in Huntsville on April 18,” e.g., Dkt.

478 at 13-14 (cleaned up)—the prima facie case would still fail. None of those three

nested sources make a prima facie case for a crime or fraud. The first—unspecified

misrepresentations and omissions, e.g., Dkt. 479 at 13—does not actually point to

any misrepresentation or omission, or cite to the Final Report. It is, in short, a “mere

allegation.” Supra p. 28. The second—unspecified discrepancies and credibility

findings in Section IV—cites to the entire 34-page fact section of the Final Report,

without further guidance as to any specific findings. Even still, an adverse credibility

finding is not enough to make out a prima face case that these Respondents were

planning an ongoing fraud on the court in the lead-up to the May 20 hearing, as

explained infra p. 31. As to “discrepancies,” the Final Report itself concedes that

“[m]any lawyers provided the same account of the same events,” Dkt. 339 at 16.

This Court’s show-cause order does not specify a “discrepancy” or

“misrepresentation” it has in mind.8 The third—the reference to dismissing because


8
  The Final Report does not use the words “discrepancy” or “fraud.” The only time
the Final Report refers to a “misrepresentation,” it is the Panel’s mistaken view that
Charles—who did not believe he was going to be called to testify and had not
attempted to refresh his recollection of the events—forgetting that he called Judge
Thompson’s chambers was in fact a “misrepresentation[].” Vague, Dkt. 70 at 22.
But even if that were so, there is no suggestion in this Court’s order that the Q&A
Document—which the Court claims was drafted in order to coordinate identical
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the reassignment of Ladinsky struck counsel as unusual and this Court set a status

conference in Huntsville immediately after Easter and Passover weekend—is not

fraudulent in the first place. The Panel believed that Respondents’ “suspicions”

about the reassignment were “unwarranted,” but did not expressly deny that they

were genuinely felt. Dkt. 339 at 31.     And the Final Report points to nothing to

undermine the consistent testimony that Respondents were concerned about the need

to quickly combine two large legal teams in time for a presentation in Huntsville

after a holiday weekend.

      Second, the Court cites a footnote in the Final Report which states that

“Walker counsel’s candor on the whole is concerning.” Id. (quoting Vague, Doc. No.

70 at 18 n.3). However, that footnote does not support such an assertion: it cites to

one answer by one Respondent in response to one hypothetical question—out of

hundreds of pages of testimony. See Vague, Doc. No. 339 at 18 n.3. Although the

Panel may not have found the answer to the hypothetical convincing,9 it does not



testimony—was or could have been in furtherance of Charles not immediately
remembering his call to chambers.
9
  Since the Panel issued its Report, Mr. Esseks has explained in greater detail why
his testimony to the Panel was truthful and why the Panel’s skepticism may have
been based on a misunderstanding of Esseks’s testimony—an issue Respondents had
no opportunity to brief before the Final Report issued. Esseks Suppl. Decl. dated
May 8, 2024 at ¶¶ 51-55. In determining whether there is a prima facie case that
Respondents were engaged in a fraud on the Court through their testimony before
the Panel, the Court should consider all of the evidence that Respondents have
provided in the course of learning what the Panel’s concerns were.
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support a blanket conclusion that all Walker Respondents failed to testify truthfully

or defrauded the Court.10 Testimony that speculates as to what the testifier might

have done in a counterfactual by definition lacks the “foundation in fact” that a prima

face case requires. In re Grand Jury Investigation, 842 F.2d at 1226. To this end,

the Panel stated only that the response “strains credulity,” Dkt. 339 at 18 n.3—not

that it was or could have been factually false.11 Moreover, if an adverse credibility

finding is enough to raise a prima facie case of the crime-fraud exception—it is not—

then at least one party would lose privilege in virtually every case. That is not the

law and would fatally undermine the attorney-client privilege.12


10
   Neither the Final Report nor this Court have connected this specific piece of
testimony to the Q&A Document. Supra p. 25 (explaining that the privileged
material must be “in furtherance” of a crime or fraud). Nor could this connection be
made. Respondents gave varied answers to this and similar hypotheticals, so it
would be illogical to blame an answering the Panel found unsatisfying on a
document that this Court has suggested was designed to “coordinate[] … testimony.”
Dkt. 527 at 8.
11
   While the Panel may have thought Mr. Esseks speculated wrongly, he did not
testify falsely about a verifiable fact. As a general matter, “[s]peculation, subjective
opinions and unfulfilled hopes do not support a claim for fraud.” Next Century
Commc'ns Corp. v. Ellis, 171 F. Supp. 2d 1374, 1380 (N.D. Ga. 2001).

12
    In other situations when the Panel asked a Respondent to weigh in on a
hypothetical, it appreciated the possibility for unfairness when asking a fact witness
to speculate on facts that did not actually happen. See, e.g., Vague, Dkt. 77, at 55:19-
20 (Judge Proctor: “this is a hypothetical, and it may be an unfair hypothetical”).
Typically, asking a fact witness to speculate on a hypothetical is not considered
evidence at all. See, e.g., Brim v. Midland Credit Mgmt., Inc., 795 F. Supp. 2d 1255,
1268 (N.D. Ala. 2011) (“Speculative testimony is generally not admissible because
it is not based on the witness's perception.”).
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      Even if an adverse impression of a party’s candor were enough to eliminate

privilege (it is not), the Panel’s footnote ignores that the Panel elsewhere expressly

praised Walker Counsel’s candor.       For example, the Panel repeatedly praised

Petitioner Hartnett’s testimony, making statements such as: “One of the things I was

impressed with your declaration is its clarity, its organization, and its candor. So I

want to give you that compliment as we stand here.” Dkt. No. 521 at 3 (quoting Aug.

3, 2022 Hearing); see also, e.g., Vague, Dkt. 77 (Judge Proctor: “I really appreciate

the way you’re tackling this, and I just want to affirm that as we’re going along.”).

A lone reference to an answer to a question about a hypothetical scenario cannot

support a prima facie case where, as here, the remainder of the voluminous record

includes repeated compliments of counsel’s candor.

      Further still, even if there were a prima facie case of fraudulent conduct by

Respondents (there is not), there would still not be any indication that the Q&A

Document was made in “furtherance of” an ongoing or future fraud. In re Grand

Jury Investigation, 842 F.2d at 1226; see also, e.g., In re Sealed Case, 107 F.3d 46,

50 (D.C. Cir. 1997) (the proponent of the exception must show the legal advice was

sought “with the intent to further … illegal conduct”). Indeed, the uncontradicted

record in this matter —including the sworn testimony of all Walker counsel and their

lawyer—is that the only activity that the Q&A Document was created in

“furtherance” of was preparation for the May 20, 2022 hearing. See supra p. 25.

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Were a prima facie case made out on these facts, it would mean that in every case

where an individual accused of some form of misconduct hires a lawyer to prepare

a defense and advocate on his or her behalf, there would be a risk that the accused’s

privileged communications with counsel could be breached based on the factfinder

merely characterizing that advocacy as being in “furtherance” of the underlying

accusations of misconduct.13 Cf. In re Richard Roe, Inc., 68 F.3d 38, 40 (2d Cir.

1995) (explaining that were the “in furtherance” requirement is not adhered to, it

would mean “the privilege would be virtually worthless because a client could not

freely give, or an attorney request, evidence that might support a finding of

culpability”).   What’s more, the Q&A Document could not have been in

“furtherance” of fraudulent testimony given the uncontradicted evidence that

Respondents did not believe they would be testifying at the May 20, 2022 hearing

at all. Supra p. 4-7.


13
   Finally, to the extent the Court’s May 17 Order sub silentio invokes the Panel’s
generalized findings of misconduct in the Final Report, that too is insufficient to
trigger the crime-fraud exception. That is so for multiple reasons: the Panel did not
find a fraud on the Court, the Panel did not make individualized findings but rather
“collective” findings, and—as noted—the Panel’s process was suffered from
multiple, severe due process violations such that all of the Panel’s findings are
wholly unreliable. Indeed, and notably, the Panel’s original (and ultimately
withdrawn) request for the Q&A Document was spurred by Justice Harwood asking
questions the Panel promised he would not ask, to a junior lawyer testifying without
counsel present, in a scenario where that lawyer was not expecting to testify or
prepared to testify or aware of any rule violated. See supra p. 8.


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       Put simply, neither the Final Report nor anything else in the record before the

District Court supports the notion that Respondents and their counsel in the

investigation have been engaged in a fraud on the Court.

       While the Court’s May 17 Order states, “it is improper for any witness to

testify to facts he or she doesn’t personally remember, coordinate omissions with

other witnesses, or agree to stick to a particular story that is not the truth, the whole

truth, and nothing but the truth,” it provides no specific examples—i.e., a prima facie

case—of this occurring.14 Rather, it merely says that the Q&A Document was based

on the “collective knowledge” of counsel. Prior to the Court’s sequestration order on

May 20, the Walker Respondents were not under any prohibition that prevented them

from discussing their recollections of past events. Merely discussing “collective

knowledge” about past events alone is not improper in the absence of a sequestration

order, particularly as here where the undisputed purpose was to educate counsel for

an upcoming hearing. Typically, Rule 615 requires a party to make a request or

“invoke the rule” before sequestration applies. See United States v. Joseph, 806 F.

App'x 910, 914 (11th Cir. 2020) (“Once a party invokes the rule of sequestration, the

district court must exclude witnesses from court proceedings . . ..”); Fed. R. Civ. P.




14
  The absence of specific examples of fraud is in stark contrast to the prima facie
case made in Drummond Co., Inc. v. Conrad & Scherer, LLP, 885 F.3d 1324 (11th
Cir. 2018). See infra p. 35.
                                           34
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615 (“At a party’s request, the court must order witnesses excluded from the

courtroom so that they cannot hear other witnesses’ testimony.”). No sequestration

order had been entered before May 20, 2022.

      The Court’s May 17 Order relies heavily on Drummond Co., Inc. v. Conrad

& Scherer, LLP, 885 F.3d 1324 (11th Cir. 2018), but Drummond only underscores

the impropriety of applying the crime-fraud exception here. In Drummond, the party

seeking to invoke the crime-fraud exception “set forth over 50 specific

misrepresentations” made by its adversary, and the adversary “did not dispute the

vast majority of those misrepresentations.” Drummond, Inc. v. Collingsworth, 2:11-

cv-3695, Dkt. 417 (Dec. 7, 2015), at 8. From there, the district court set forth ten

pages of bullet-pointed examples of specific misrepresentations.         Id. at 8-17.

Moreover, the materials at issue in Drummond were plainly in furtherance of the

alleged misconduct—i.e., communications to an attorney who served as an

intermediary to make illegal bribe payments, in furtherance of “witness bribery.”

Drummond, 885 F.3d at 1333.         In short, Drummond represents the rare and

exceptional case where the crime-fraud exception applies, and provides no support

for invoking that exception based on the non-evidence of fraud here.

      IV.   THE COURT SHOULD NOT CONDUCT ANY IN CAMERA
            REVIEW.

      Because there is not a sufficient basis to invoke the crime fraud exception, the

Court need not decide whether it should appoint a special master. However, even if
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this Court were to decide that in camera review is appropriate here, the interests of

justice strongly favor the appointment of a special master outside the Alabama

district courts.

       When a presiding judge reviews privileged materials, there is a possibility that

the judge could be “prejudiced.” Douglas R. Richmond, Understanding the Crime-

Fraud Exception to the Attorney Client Privilege and Work Product Immunity, 70

S.C.L.R. 1, 30 (2018) (“Richmond”). For that reason, “[i]deally, any in camera

review should be conducted by a judge other than the one presiding over the case

involving the communications” or the court should “appoint a special master to

conduct the review.” Id.; see, e.g., Thomas E. Spahn, A Practitioner’s Summary

Guide to the Attorney-Client Privilege & the Work Product Doctrine 297–98 (2013)

(noting the “common-sense concept,” that “the judge hearing a case (especially in a

non-jury setting) should arrange for another judge to review arguably protected

communications or documents,” to help prevent “adverse effects of the trial judge

reviewing what should never have been disclosed”); see id. at 298 (noting that

“[m]any courts delegate” this review “to special masters”). Courts in this Circuit

have appointed special masters to assess the relevance of the crime-fraud exception.

See, e.g., Drummond, 885 F.3d at 1327 (noting that the district court “ordered a

special master to perform an in camera review to determine whether the crime-fraud

exception … appl[ied]”).

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      This proceeding presents an exceedingly strong case for a special master.

First, the typical factors that favor a special master clearly obtain here: there is a

general risk that a judge presiding over a case will be prejudiced by reviewing

privileged material and there is no jury so the ultimate findings and penalties here

will be made by the same person that would be reviewing the privileged material.

Second, the underlying charge is that Respondents perpetrated a fraud on the court

and, for obvious reasons, the “potential for prejudice would seem to be especially

great where the alleged fraud is fraud on the court.” Richmond at 30. Third, the

unconventional structure of these proceedings makes the risk of prejudice especially

acute. In the typical case where a court acts as trier of fact (which itself triggers a

risk of prejudice), the court is still acting as a neutral arbiter between two adversaries.

That is manifestly not this case. Here, the Court is acting as investigator, prosecutor,

judge, and jury all at once, and doing so in a quasi-criminal proceeding. See In re

Ruffalo, 390 U.S. 544, 551. In these circumstances, it would be fundamentally unfair

to allow the Court unfettered access to privileged communications. It is no “personal

criticism” of the Court to observe that a judge in that scenario could not “reasonably

be expected to erase the earlier impressions from his mind” gleaned from “privileged

communications.” United States v. Nicholson, 611 F.3d 191, 217–18 (4th Cir. 2010).

      Compounding the foregoing problems is another: the allegations in this case

are unavoidably personal. In essence, the Panel’s Final Report concludes that

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because Respondents thought they could not obtain a favorable result from Judge

Burke, they did not want to appear before Judge Burke. And while Respondents

vigorously contest the charge that they tried to subvert the random-case assignment

system or otherwise acted improperly, there is no dispute that Respondents at times

had concerns about Judge Burke. See, e.g., Dkt. 339 at 31 (“McCoy and others

testified to an additional, and more troubling, concern: they suspected that Judge

Burke reached out to obtain the Ladinsky case”); id. at 32 (concerns expressed based

on Judge Burke’s “prior political affiliations”); Vague, Dkt. 77 at 227 (testimony that

because “Judge Burke had a portrait of Jefferson Davis in his chambers,” that “did

not seem to be a good fact” for a “civil rights lawyer”). Again, it is not a criticism

to suggest that there is a risk of prejudice when a judge is asked to consider sanctions

in a case predicated on charges that the lawyers attempted to avoid that judge. That

risk of prejudice makes it all the more important not to poison the well by allowing

the ultimate decisionmaker to review privileged communications. The Supreme

Court teaches that courts deciding whether and how to engage in “in camera review”

should look to the “facts and circumstances of the particular case,” Zolin, 491 U.S.

at 572, and the circumstances here—a case in which the alleged misconduct is

inextricably bound up with allegations about the attorneys’ concerns with a judge—

strongly disfavor this Court conducting in camera review.




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      In sum, there is no basis for the crime-fraud exception and, if there were any

colorable basis, a special master is the only just option.

      Respectfully submitted, May 24, 2024

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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served
on all parties of record via the CM/ECF electronic filing system, electronic mail,
and/or U.S. Mail on this the 24th day of May, 2024.



                                           /s/ Brannon J. Buck
                                           OF COUNSEL




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